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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                       Plaintiff,

 v.

 U.S. DEPARTMENT OF JUSTICE, et al.,

                       Defendants.


             DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
                IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
               MOTION FOR A TEMPORARY RESTRAINING ORDER

        1.     I am a partner in the law firm of Williams & Connolly LLP and a member of the

Bar of this Court. I am one of the counsel of record in the above-captioned action representing the

Plaintiff, Perkins Coie LLP. I submit this declaration in support of Plaintiff’s Motion for a

Temporary Restraining Order in the above-captioned case.

        2.     Attached hereto as Exhibit 1 is a true and correct copy of an Executive Order issued

by President Donald J. Trump on March 6, 2025 and titled “Addressing Risks from Perkins Coie

LLP.”

        3.     Attached hereto as Exhibit 2 is a true and correct copy of a document titled “Fact

Sheet: President Donald J. Trump Addresses Risks from Perkins Coie LLP,” posted to the White

House website on March 6, 2025.

        4.     Attached hereto as Exhibit 3 is a true and correct copy of a March 6, 2025

Associated Press article by Eric Tucker titled Trump targets security clearances of law firm over

actions related to 2016 Russia investigation.

        5.     Attached hereto as Exhibit 4 is a true and correct copy of a March 6, 2025 New



                                                1
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                 EXHIBIT 1
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11782    Federal Register / Vol. 90, No. 46 / Tuesday, March 11, 2025 / Presidential Documents

                               (b) The heads of all agencies shall review all contracts with Perkins
                             Coie or with entities that disclose doing business with Perkins Coie under
                             subsection (a) of this section. To the extent permitted by law, the heads
                             of agencies shall:
                               (i) take appropriate steps to terminate any contract, to the maximum
                               extent permitted by applicable law, including the Federal Acquisition
                               Regulation, for which Perkins Coie has been hired to perform any service;
                                (ii) otherwise align their agency funding decisions with the interests of
                                the citizens of the United States; with the goals and priorities of my
                                Administration as expressed in executive actions, especially Executive
                                Order 14147 of January 20, 2025 (Ending the Weaponization of the Federal
                                Government); and as heads of agencies deem appropriate. Within 30 days
                                of the date of this order, all agencies shall submit to the Director of
                                the Office of Management and Budget an assessment of contracts with
                                Perkins Coie or with entities that do business with Perkins Coie effective
                                as of the date of this order and any actions taken with respect to those
                                contracts in accordance with this order.
                             Sec. 4. Racial Discrimination. (a) The Chair of the Equal Employment Oppor-
                             tunity Commission shall review the practices of representative large, influen-
                             tial, or industry leading law firms for consistency with Title VII of the
                             Civil Rights Act of 1964, including whether large law firms: reserve certain
                             positions, such as summer associate spots, for individuals of preferred races;
                             promote individuals on a discriminatory basis; permit client access on a
                             discriminatory basis; or provide access to events, trainings, or travel on
                             a discriminatory basis.
                                (b) The Attorney General, in coordination with the Chair of the Equal
                             Employment Opportunity Commission and in consultation with State Attor-
                             neys General as appropriate, shall investigate the practices of large law
                             firms as described in subsection (a) of this section who do business with
                             Federal entities for compliance with race-based and sex-based non-discrimi-
                             nation laws and take any additional actions the Attorney General deems
                             appropriate in light of the evidence uncovered.
                             Sec. 5. Personnel. (a) The heads of all agencies shall, to the extent permitted
                             by law, provide guidance limiting official access from Federal Government
                             buildings to employees of Perkins Coie when such access would threaten
                             the national security of or otherwise be inconsistent with the interests of
                             the United States. In addition, the heads of all agencies shall provide guidance
                             limiting Government employees acting in their official capacity from engaging
                             with Perkins Coie employees to ensure consistency with the national security
                             and other interests of the United States.
                                (b) Agency officials shall, to the extent permitted by law, refrain from
                             hiring employees of Perkins Coie, absent a waiver from the head of the
                             agency, made in consultation with the Director of the Office of Personnel
                             Management, that such hire will not threaten the national security of the
                             United States.
                             Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                             to impair or otherwise affect:
                                (i) the authority granted by law to an executive department or agency,
                                or the head thereof; or
                               (ii) the functions of the Director of the Office of Management and Budget
                               relating to budgetary, administrative, or legislative proposals.
                               (b) This order shall be implemented consistent with applicable law and
                             subject to the availability of appropriations.
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                                        (c) This order is not intended to, and does not, create any right or benefit,
                                      substantive or procedural, enforceable at law or in equity by any party
                                      against the United States, its departments, agencies, or entities, its officers,
                                      employees, or agents, or any other person.




                                      THE WHITE HOUSE,
                                      March 6, 2025.


[FR Doc. 2025–03989
Filed 3–10–25; 11:15 am]
Billing code 3395–F4–P
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                 EXHIBIT 2
3/11/25, 8:40 AM      Case 1:25-cv-00716-BAH        Document
                                       Fact Sheet: President        2-6
                                                             Donald J.       Filed 03/11/25
                                                                       Trump Adresses                 Page
                                                                                      Risks from Perkins       8 of
                                                                                                         Coie LLP – ] 32

                                  Fact Sheet: President Donald J. Trump Addresses Risks from Perkins Coie LLP
                                                         The White HouseMarch 6, 2025




  STOPPING ABUSES THAT UNDERMINE THE NATION: Today, President Donald J. Trump signed an Executive Order to
  suspend security clearances held by individuals at Perkins Coie LLP, pending a review of whether their access to sensitive
  information is consistent with the national interest.
        Security clearances held by Perkins Coie LLP employees will be immediately suspended, pending a review of whether
        their access to sensitive information is consistent with the national interest.
               The Federal Government will halt all material and services, including sensitive compartmented information facility
               (SCIF) access provided to Perkins Coie LLP and restrict its employees’ access to government buildings.
               Federal Agencies will also refrain from hiring Perkins Coie LLP employees unless specifically authorized.
         To ensure taxpayer dollars no longer go to contractors whose earnings subsidize partisan lawsuits against the United
         States, the Federal Government will prohibit funding contractors that use Perkins Coie LLP.
              All Federal Government contracts with Perkins Coie LLP will undergo rigorous scrutiny, with agency heads directed
              to terminate engagements to the maximum extent permitted by law.
       The practices of Perkins Coie LLP will be reviewed under Title VII to ensure compliance with civil rights laws against
       racial bias.
  ENSURING GOVERNMENT SERVES THE AMERICAN PEOPLE: President Trump’s Administration will not tolerate Perkins
  Coie LLP’s unethical and discriminatory actions that threaten our elections, military strength, and national security.
       In 2016, Perkins Coie LLP hired Fusion GPS to manufacture a false “dossier” designed to steal an election while
       representing failed presidential candidate Hillary Clinton.
         Perkins Coie LLP pushed debunked claims of secret Trump-Russia communications via Alfa Bank, with attorney Michael
         Sussmann indicted for lying to the FBI about this scheme.
         Perkins Coie LLP has worked with activist donors, including George Soros, to judicially overturn enacted election laws,
         such as those requiring voter identification.
              A court was forced to sanction Perkins Coie attorneys for unethical lack of candor before the court.
         Perkins Coie LLP has been accused of racially discriminating against its own attorneys, staff, and applicants.
              Perkins Coie has publicly announced racial percentage quotas for hiring and promotions, violating civil rights laws,
              and excluded applicants from fellowships based on race until lawsuits forced change.
         Perkins Coie LLP hosted an FBI workspace, raising concerns about partisan misuse of sensitive data during
         investigations targeting President Trump.
        Perkins Coie LLP has filed lawsuits against the Trump Administration, including one designed to reduce military
        readiness.
  A RETURN TO ACCOUNTABILITY: President Trump is delivering on his promise to end the weaponization of government and
  protect the nation from partisan actors who exploit their influence.
        President Trump is refocusing government operations to their core mission—serving the citizens of the United States.
         President Trump signed an Executive Order to end the weaponization of the Federal Government on his first day in office
         after promising to “end forever the weaponization of government and the abuse of law enforcement against political
         opponents.”
         President Trump revoked security clearances held by dozens of intelligence officials who falsely claimed in a 2020 letter,
         during the height of the U.S. presidential election season, that Hunter Biden’s laptop was tantamount to Russian
         disinformation.




https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-adresses-risks-from-perkins-coie-llp/              1/1
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                 EXHIBIT 3
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  Trump targets security clearances of law firm over actions related to 2016
                            Russia investigation
                                                      The Associated Press
                                               March 7, 2025 Friday 1:04 AM GMT


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Section: WASHINGTON DATELINE; POLITICAL NEWS
Length: 907 words
Byline: ERIC TUCKER, Associated Press
Dateline: WASHINGTON

Body


WASHINGTON — President Donald Trump said Thursday he was moving to suspend the security clearances of
attorneys at a prominent law firm linked to Democratic-funded opposition research during the 2016 presidential
campaign into ties between the Republican candidate and Russia.

The sanction against Perkins Coie is the latest in a series of retributive moves by Trump and his administration
targeting a broad cross-section of perceived adversaries, including Justice Department prosecutors, career
intelligence officials and most recently private-practice attorneys. Taken together, the actions appear designed not
only to settle scores from years past but also to deter both government officials and private sector workers from
participating in new inquiries into his conduct.

“This is an absolute honor to sign. What they've done is just terrible. It's weaponization — you could say
weaponization against a political opponent, and it should never be allowed to happen again,” Trump said after
being presented with the executive order at the Oval Office.

The executive order directs the attorney general, the director of national intelligence and other relevant agency
heads to “take steps consistent with applicable law to suspend any active security clearances held by individuals at
Perkins Coie, pending a review of whether such clearances are consistent with the national interest.” It does not say
how many lawyers at the law firm which did not immediately respond to a written request for comment, might have
such a clearance.

It also instructs agency heads to restrict access to government buildings by attorneys at the firm “when such access
would threaten the national security of or otherwise be inconsistent with the interests of the United States" and to
identify, and cancel, contracts they have with the firm.

In a statement, a spokesperson for the firm said: “We have reviewed the Executive Order. It is patently unlawful,
and we intend to challenge it.”

The punishment arises from the hiring by Perkins Coie of Fusion GPS, a research and intelligence firm, to conduct
opposition research on then-candidate Trump’s potential ties to Russia. The arrangement was brokered by Marc
Elias, who at the time was a well-connected partner at Perkins Coie and top lawyer for Hillary Clinton's 2016
presidential campaign but who has since left the firm and started his own practice.

Fusion GPS in return retained former British spy Christopher Steele, whose dossier of research circulated among
journalists and government officials in Washington during the campaign. The dossier, which was turned over to the
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          Trump targets security clearances of law firm over actions related to 2016 Russia investigation

FBI for its review, contended that Russia was engaged in a longstanding effort to aid Trump and had amassed
compromising information about him.

But the material has since been largely discredited as containing salacious and unverified rumors linking Trump to
Russia, with Special counsel John Durham’s 2023 report on the origins of the FBI's Russia investigation saying that
FBI investigators who tried to corroborate Steele’s findings were unable to verify a “single substantive allegation.”
Steele has stood by his work.

The dossier created a political firestorm in January 2017, when it was revealed that then- FBI Director James
Comey had briefed Trump before he took office on the existence of allegations from the research. The subsequent
revelation that the Clinton campaign and the Democratic National Committee had helped fund the dossier added to
questions about the legitimacy of Steele's research, which Trump as president repeatedly attacked as “phony” and
inaccurate.

Trump and his allies have long tried to use the dossier's flaws to undermine the entire investigation into connections
between his 2016 campaign and Russia. But the reality is that investigation began weeks before the FBI agents
who were working on it came into possession of dossier and was opened based on an entirely different tip — that a
Trump campaign aide claimed to have knowledge that Russia had dirt on Hillary Clinton, Trump's opponent, well
before Russia was known to have hacked Democratic emails.

And though special counsel Robert Mueller's investigation did not conclude that Russia and the Trump campaign
had criminally conspired to tip the election, it did identify a sweeping effort by the Kremlin to intervene on the
Republican candidate's behalf as well as evidence that the campaign welcomed the help.

Since taking office, the Trump administration has fired Justice Department prosecutors who participated in special
counsel Jack Smith's investigations into Trump. It also said it was stripping security clearances of lawyers who
provided legal services for Smith and of dozens of former intelligence officials who signed onto a 2020 letter
asserting that the Hunter Biden laptop saga bore the hallmarks of a Russian disinformation campaign.

The Perkins Coie executive order also alleges that the firm engages in what the Trump administration describes as
unlawful diversity, equity and inclusion practices.

That follows a directive from Attorney General Pam Bondi last month that calls on the Justice Department’s civil
rights division to “investigate, eliminate and penalize illegal” DEI “preferences, mandates, policies, programs and
activities in the private sector and in educational institutions that receive federal funds.”

____

Associated Press writers Alanna Durkin Richer and Michelle L. Price in Washington contributed to this report.


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 Trump Ramps Up Attacks on Law Firms With Order Targeting Perkins Coie
                                                     The New York Times
                                            March 6, 2025 Thursday 17:25 EST


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Section: US; politics
Length: 854 words
Byline: Devlin Barrett
Highlight: The order against the firm, which did work for Democrats during the 2016 campaign, represents an
escalation of efforts to punish groups the president sees as aiding his enemies.

Body


The order against the firm, which did work for Democrats during the 2016 campaign, represents an escalation of
efforts to punish groups the president sees as aiding his enemies.

President Trump signed an executive order on Thursday seeking to severely punish the law firm Perkins Coie by
stripping its lawyers of security clearances and access to government buildings and officials — a form of payback
for its legal work for Democrats during the 2016 presidential campaign.

With the order, Perkins Coie becomes the second such firm to be targeted by the president. Late last month, he
signed a similar memorandum attacking Covington &amp; Burling, which has done pro bono legal work for Jack
Smith, who as special counsel pursued two separate indictments of Mr. Trump.

While the Covington memorandum sought to strip clearances and contracts from that firm, the Perkins Coie order
goes much further, seeking to also limit its lawyers’ access to federal buildings, officials and jobs in a way that could
cast a chilling effect over the entire legal profession.

The president’s animosity toward Perkins Coie dates back eight years, to when two lawyers at the firm, Marc Elias
and Michael Sussmann, played roles in what eventually became an F.B.I. investigation to determine if anyone on
the 2016 Trump presidential campaign conspired with Russian agents to influence the outcome of that election.
Both lawyers left that firm years ago.

The executive order denounces what it calls “dishonest and dangerous activity” at Perkins Coie, singling out its
hiring of a research firm that led to the compilation of a dossier of unsubstantiated allegations against Mr. Trump
related to possible ties between his campaign and Russia. The executive order accused the firm of “undermining
democratic elections, the integrity of our courts and honest law enforcement.”

The order instructs federal agencies to suspend any security clearances that Perkins Coie lawyers may have. It
also orders government agencies to determine if they have any contracts with the law firm, and then cancel them.

Additionally, the order instructs the heads of all federal agencies to limit Perkins Coie lawyers’ access to federal
buildings “when such access would threaten the national security of or otherwise be inconsistent with the interests
of the United States.” It also instructs federal officials to limit their interactions with employees of the firm and seeks
to prevent Perkins Coie lawyers from being hired by the federal government.

It is not clear what immediate effect the presidential decree will have on the firm. The president and his supporters
have railed against what they call the “weaponization” of the legal system against him, arguing that he was unfairly
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                    Trump Ramps Up Attacks on Law Firms With Order Targeting Perkins Coie

targeted by prosecutors, judges and private practice lawyers for political purposes, rather than any wrongdoing on
his part.

“This is an absolute honor to sign,” Mr. Trump said at the White House. “What they’ve done is just terrible. It’s
weaponization, you could say weaponization against a political opponent, and it should never be allowed to happen
again.”

The same executive order also accuses the firm of unfair hiring practices, and calls for a far-reaching review of top
law firms to see if they promote diversity, equity or inclusion in a way that the Trump administration dislikes.

The federal review ordered by Mr. Trump will seek to determine “whether large law firms reserve certain positions,
such as summer associate spots, for individuals of preferred races; promote individuals on a discriminatory basis;
permit client access on a discriminatory basis; or provide access to events, trainings or travel on a discriminatory
basis.”

In a written statement, the law firm said the executive order “is patently unlawful, and we intend to challenge it.” It
was not immediately clear how many lawyers at the firm have security clearances.

Mr. Trump filed a lawsuit against Perkins Coie in 2022, accusing the firm, along with his former rival Hillary Clinton
and others, of participating in a left-wing conspiracy to derail his presidential campaign. That lawsuit was quickly
tossed by a judge who said it lacked substance and legal support.

Earlier this week, the president of the American Bar Association, William R. Bay, warned that Mr. Trump might take
additional punitive measures against law firms he does not like, and said such behavior undermines the nation’s
legal system.

“Lawyers must be free to represent clients and perform their ethical duty without fear of retribution,” Mr. Bay said in
a written statement. He added: “We reject the notion that the government can punish lawyers who represent certain
clients or punish judges who rule certain ways. We cannot accept government actions that seek to tip the scales of
justice in this manner.”

Luke Broadwater contributed reporting.

Luke Broadwater contributed reporting.

PHOTO: President Trump’s order makes Perkins Coie, which did legal work for Democrats during the 2016
presidential campaign, the second law firm to be targeted for retribution. (PHOTOGRAPH BY Maansi Srivastava for
The New York Times FOR THE NEW YORK TIMES)


Load-Date: March 7, 2025


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    Fear of Trump Has Elite Law Firms in Retreat; Executive orders against
          Perkins Coie and Covington & Burling have chilled industry
                                                 The Wall Street Journal Online
                                                          March 9, 2025


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Section: POLITICS; Politics and Policy
Length: 1091 words
Byline: By Erin Mulvaney and C. Ryan Barber

Body


Elite law firms formed a proud part of the opposition to the first Trump administration. This time around, the industry
is fearful of taking on a president who hasn't shied away from punishing his enemies.

President Trump on Thursday signed an executive order directing agencies to strip security clearances,
government contracts and federal-building access from a top law firm with Democratic ties, Perkins Coie. It followed
a similar, but more narrowly tailored, order late last month against attorneys at Covington & Burling representing
former special counsel Jack Smith, who oversaw the investigation and federal prosecutions of Trump.

"We have a lot of law firms that we're going to be going after because they were very dishonest people," Trump
said in an interview that aired Sunday on Fox News.

The White House moves have sent a chill through the world of Big Law, at a time when litigation has emerged as
one of the few checks on the president.

SHARE YOUR THOUGHTS

What does a second Trump administration mean for law firms? Join the conversation below.

In private conversations, partners at some of the nation's leading firms have expressed outrage at the president's
actions. What they haven't been willing to do is say so publicly. Back-channel efforts to persuade major law firms to
sign public statements criticizing Trump's actions thus far have foundered, in part because of retaliation fears,
people familiar with the matter said.

Advocacy groups and smaller law firms say it has been more difficult to recruit larger firms to help with cases
against Trump, which now number more than 100.
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  Fear of Trump Has Elite Law Firms in Retreat; Executive orders against Perkins Coie and Covington & Burling
                                             have chilled industry

"Obviously, there is a different energy this time around," said Jin Hee Lee, director of strategic initiatives at the
NAACP Legal Defense Fund, which is involved in lawsuits challenging Trump's anti-DEI initiatives and bid to limit
birthright citizenship. "Law firms are not as vocal and as zealous."

Trump's inner circle has signaled it is paying close attention to which firms are taking the administration to court.
Elon Musk reposted a story on X about lawsuits challenging the administration's cuts to funding at the National
Institutes of Health, asking, "Which law firms are pushing these anti-democratic cases to impede the will of the
people?"

The Perkins Coie order further unsettled an already anxious industry. Trump cited the firm's work for Hillary Clinton
during her failed presidential run, including its role in working with an opposition-research firm that compiled a
dossier against Trump that has been mostly discredited. The president also criticized the firm for working with
liberal donors including George Soros, and for adopting internal diversity initiatives.

Perkins Coie called Trump's move "patently unlawful," and said "we intend to challenge it."

Covington has represented the Democratic National Committee and employs scores of former top officials in the
Obama and Biden administrations. When Trump signed his Feb. 25 order against the firm, he said his actions were
in response to "the weaponization of our system by law firms." The order cited $140,000 worth of free legal services
the firm provided to Smith, the special counsel.

Covington last month said it had long represented clients facing government investigations "consistent with the best
traditions of the legal profession."

"This is dangerous as hell," said Rep. Jamie Raskin (D., Md.), the ranking member of the House Judiciary
Committee. "If you defend other people's rights, even if it's your job, the president of the United States will retaliate
against you."

There are some big-name firms involved in litigation against the administration, though they haven't sought publicity
for it. Cleary Gottlieb, Gibson Dunn, WilmerHale, Munger Tolles, and Jenner & Block have active cases, including
challenges to the White House's efforts to fire federal employees and roll back transgender rights.

The firms declined to comment.

Legal observers say some of the industry's caution is out of concern for losing corporate clients, many of whom
have cozied up to Trump, including by attending the inauguration and rolling back diversity initiatives. Lawyers said
they are also concerned about taking public steps that could undermine their ability to provide effective legal
representation.

"No one sues the government lightly," said Stuart Singer, a managing partner at Boies Schiller. "You want to make
sure you are doing it for fundamentally important reasons for your business."

Former federal prosecutors recently circulated a letter to oppose Trump's pick for U.S. attorney in Washington,
D.C., Ed Martin, who supported Jan. 6 defendants and backed Trump's claims that the 2020 election was stolen.
But some of those lawyers now working at large firms declined to add their names out of concern that their
signatures could subject clients to harsher treatment in ongoing or future investigations, people familiar with the
matter said.

Battles over Trump's immigration policies highlight Big Law's more reluctant approach.

During the first Trump administration, a dozen large law firms represented clients who intervened in a Supreme
Court case involving a ban on people entering the U.S. from majority-Muslim countries. Firms also provided legal
assistance to immigrant families that were split up at the southern U.S. border, and publicly criticized the
administration's family-separation policy.
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  Fear of Trump Has Elite Law Firms in Retreat; Executive orders against Perkins Coie and Covington & Burling
                                             have chilled industry

By contrast, lawsuits challenging January's initiative to limit birthright citizenship have attracted almost no large law
firms. An exception: Arnold & Porter, which is litigating one of the cases on behalf of a nonprofit that advocates for
Asian-Americans and Pacific Islanders.

In the field of employment law, the scale of the Trump administration's layoffs of federal workers has overwhelmed
the smaller firms that handle these types of cases. Attorneys say some larger firms have been unwilling to take on
the work.

"Lawyers have different comfort levels or business imperatives that make it difficult to get involved," said
Christopher Mattei, a lawyer with Koskoff Koskoff & Bieder, a Connecticut-based firm with about 20 attorneys.

The firm is representing FBI agents who sued to prevent the administration from aggregating and disseminating a
list of law-enforcement officials who worked on investigations of Trump and the Jan. 6, 2021, riot at the Capitol.

"This is not a time when lawyers and law firms can be intimidated," Mattei said. "There's a strength in numbers."

Write to Erin Mulvaney at erin.mulvaney@wsj.com and C. Ryan Barber at ryan.barber@wsj.com



Notes

PUBLISHER: Dow Jones & Company, Inc.


Load-Date: March 10, 2025


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                 EXHIBIT 6
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    Trump says he'd have 'every right' to seek prosecutions of political foes
                                                       Washington Post.com
                                                               June 6, 2024


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Section: NATIONAL-POLITICS
Length: 653 words
Byline: By Amy B Wang

Body


Former president Donald Trump said Wednesday that seeking prosecutions of his political opponents would be
"wrong" but that he also would have "every right" to do so if reelected, the latest way Trump has lashed out since a
jury convicted him on 34 felony counts of falsifying business records in his New York hush money case last week.

In an interview with Fox News on Wednesday night, host Sean Hannity asked Trump about those who have
suggested Trump would seek "retribution" through the criminal justice system if he returned to the White House.

"So number one, they're wrong. It has to stop because otherwise we're not going to have a country," Trump said,
before baselessly accusing President Biden and his family of crimes.

"Look, when this election is over, based on what they've done, I would have every right to go after them," he added.
"And it's easy because it's Joe Biden and you see all the criminality."

In response to the interview, Biden's reelection campaign released a statement that suggested Trump had "clearly
snapped" and asserted his candidacy was becoming more dangerous each day.

"Tonight in prime time, America saw Donald Trump consumed by rage and visibly rattled following his felony
conviction," Biden campaign spokesman Michael Tyler said. "Donald Trump is so consumed with personal
grievance that he does not care who he hurts so long as Donald Trump benefits."

Trump, the presumptive Republican presidential nominee, continues to claim without evidence that his prosecutions
are politically motivated and that his political rivals are behind them. In addition to the New York hush money case,
Trump faces 54 criminal charges in three cases, two of which are related to his efforts to overturn the results of the
2020 presidential election.

On Wednesday, Hannity also asked whether Trump would pledge to "restore equal justice" if reelected, tacitly
validating Trump's false claims that his prosecutions were politically motivated.
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                       Trump says he'd have 'every right' to seek prosecutions of political foes

"You have to do it. But it's awful," Trump said.

Trump's remarks Wednesday night were slightly less overt than those he gave in an interview with Newsmax that
aired Tuesday, in which he openly mused about his political opponents - including his 2016 rival Hillary Clinton -
facing prosecution.

"Wouldn't it be terrible to throw the president's wife and the former secretary of state - think of it, the former
secretary of state - but the president's wife into jail?" Trump told Newsmax.

"But they want to do it," Trump said, appearing to refer to his opponents. "So, you know, it's a terrible, terrible path
that they're leading us to, and it's very possible that it's going to have to happen to them."

Trump has made payback for opponents central to his campaign, at one point declaring to a crowd: "I am your
retribution." In private, he told advisers and friends that he wants the Justice Department to investigate specific
former aides and allies who are now critical of him, The Washington Post previously reported. And he has promised
to appoint a special prosecutor to scrutinize Biden and his family.

But Trump's message also has been muddled at times. "I'm not going to have time for retribution. We're going to
make this country so successful again, I'm not going to have time for retribution," he said at an event in Iowa in
January.

Trump's Republican allies also downplayed his recent felony convictions, criticizing the New York hush money trial
and echoing Trump's claims that the justice system was "weaponized" against him. House Speaker Mike Johnson
(R-La.) announced Tuesday that GOP lawmakers would "do everything we can" to target the Justice Department
and other jurisdictions that investigated or charged Trump. He vowed to use the chamber's oversight powers while
cutting funds in the government appropriations process and taking other unspecified legislative measures.

Hannah Knowles, Marianna Sotomayor and Liz Goodwin contributed to this report.



Notes

PUBLISHER: Washington Post


Load-Date: January 31, 2025


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  Trump expands retribution campaign against law firms that aided his foes
                                                       The Washington Post
                                                              March 7, 2025
                                                              FINAL Edition


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Section: A-SECTION; Pg. A04
Length: 1286 words
Byline: Perry Stein Michael Birnbaum

Body


President Donald Trump on Thursday targeted another elite law firm that has represented clients he considers his
political enemies, sending a forceful message that he is willing to punish firms who work for people or groups that
oppose his administration's agenda.

In an Oval Office ceremony, the president signed an executive order hitting the large international law firm Perkins
Coie with a sweeping directive that bans the federal government from hiring it, or from using contractors who work
with it, except in limited circumstances. The order also bars Perkins Coie employees from entering federal buildings
and suspends their security clearances.

The firm represented Hillary Clinton's campaign and the Democratic National Committee during the 2016
presidential race, and it also contracted with the research firm that produced the now-discredited opposition dossier
that alleged extensive contacts between Trump and Russia.

The move could have a chilling effect on law firms' willingness to take on clients and cases that run counter to the
Trump administration, challenging a fundamental tenet of the rule of law in the United States that everyone should
have access to legal representation, experts said.

"This is an absolute honor to sign," Trump said from his Oval Office desk.

A spokesman for Perkins Coie said in a statement that the executive order is "patently unlawful, and we intend to
challenge it."

A White House official said the move targeted Perkins Coie because of its track record on Trump.
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                      Trump expands retribution campaign against law firms that aided his foes

"The president doesn't believe they should have the privileges afforded to companies of their stature to work and
operate with the federal government, since they have made it very clear they are vehemently against the president
of the United States, and their work proves that," a senior administration official said, speaking on the condition of
anonymity to talk frankly about the sensitive decision-making behind the order.

"If this case was retribution or anti-Democrat, anti-liberal, then we would basically pull the security clearance
clearances of every law firm on K Street, because they all hate the president," the official said. "This law firm in
particular has shown a level of bias in which their coordination with the federal government was done so in an illegal
fashion that was purposely intended on undermining the president of the United States and really locking him up."

Perkins Coie is the second law firm Trump has taken action against or decried as engaging "in the weaponization of
the judicial process."

Last week, he ordered the suspension of security clearances of some attorneys at Covington & Burling, which has
represented special counsel Jack Smith pro bono. Smith led the federal investigations of Trump for allegedly
mishandling classified materials and trying to block the 2020 election results.

Trump's orders targeting the law firms called for limiting their access to federal resources and could have the effect
of dissuading other private law firms from battling the Trump administration in court.

The American legal system relies on attorneys representing all sorts of clients, including violent criminals, and the
president's appearing to punish firms for their choice of clients could do grave damage to that system, said Mark
Zaid, a national security lawyer who often represents whistleblowers.

"By taking these actions against these major law firms, it is effectively sending a message to all the lawyers that you
best not challenge this administration, or you, your lawyers and your clients will suffer," Zaid said. "It is the most un-
American thing I've ever heard."

Other experts said the order was part of Trump's broader campaign against the legal system.

"He doesn't like judges who rule against him. He doesn't like prosecutors who prosecuted against him. He doesn't
like lawyers who've undertaken measures against him," said Thomas Carothers, the director of the Democracy,
Conflict, and Governance Program at the Carnegie Endowment for International Peace. "This is part of a broader
questioning, and in many cases, an attack on the core institutions of the rule of law."

But Carothers said that he did not think Trump's order would bring the U.S. legal system to a halt.

"I don't think a peer law firm will think, 'Oh, we shouldn't bring this enforcement action against this government
entity, because we can no longer challenge the U.S. government.' I think that would be overreading it."

Perkins Coie became embroiled in what Trump and his allies have repeatedly described as the "Russia hoax" when
it contracted with a firm that conducted research about Trump's connections to Russia during the 2016 presidential
campaign. That contract resulted in the now-famous Steele dossier, a document full of unverified allegations
assembled by former British intelligence officer Christopher Steele.

But the two main attorneys involved in that work - Marc E. Elias and Michael Sussmann - are no longer employed
by Perkins Coie. Both attorneys are named in a fact sheet explaining Trump's executive order.

Elias retained Fusion GPS, the Washington firm that ultimately produced the Steele dossier.

Years later, special counsel John Durham - who was assigned to look into possible wrongdoing among federal
agents who investigated Trump's 2016 campaign - charged Sussmann with lying to a senior FBI official during that
investigation.
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                      Trump expands retribution campaign against law firms that aided his foes

Sussmann was accused of bringing allegations to the FBI of a secret computer communications channel between
the Trump organization and Russia-based Alfa Bank. FBI agents investigated the data but concluded that there was
nothing suspicious about it.

In 2022, a jury found Sussmann not guilty.

Perkins Coie is one of eight big law firms involved in lawsuits against Trump, according to an American Bar
Association Journal article published last week that cited the law firm's representation of transgender service
members who are challenging the administration's ban on joining the military.

Trump also signed a separate order that could make it harder for opponents to seek injunctions against his
administration's actions by holding them accountable for legal costs if they lose. The Justice Department will ask
judges to require plaintiffs who are seeking injunctions and restraining orders against the Trump administration to
post a bond to cover court costs should they fail, raising the bar for legal challenges.

When presenting the Perkins Coie executive order to Trump to sign, White House staff secretary Will Scharf said
the firm has engaged in "unlawful DEI practices," referring to diversity, equity and inclusion programs, and accused
it of using racial quotas for hiring and promotions.

Scharf said the executive order calls for a "holistic review of unlawful DEI in some of the nation's largest law firms."

Although the Supreme Court has banned affirmative action in college admissions, and federal law prohibits
workplace discrimination on the basis of race, sex and certain other criteria, no law bans diversity and equity efforts
within private companies.

Scharf did not explain what the government's review would entail, which law firms would be examined and what
criteria the federal government would use to determine whether a law firm engaged in wrongdoing.

The Trump administration's move to penalize law firms for their DEI practices when no court has said such
programs are illegal "is extraordinary," said Walter Olson, a senior fellow at the Cato Institute, a libertarian think
tank.

"There is no legal definition of excessive DEI. The law itself is so unsettled," Olson said. "The administration can
take positions, but it's not as if the courts have taken a position and given them a green light and said, 'Yes, you are
right.'"


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WP20250307DOJPERKINS;
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Trump Law Firm Attacks Add Pain, Even on Shaky Legal
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